 

_ CaSe 2214-CV-12218-PJD-DRG ECF NO. 31 filed 12/24/14 Page|D.143 Page 1 Of 6

The United States District Court
Of Michigan
The Eastern Division Of Michigan
237 W. Lafayette Blvd.
Detroit, Michigan 48226
Southern Division

Ronnette Wilson Hon: Patrick J Duggan
Plaintiff- Prose Civi1214- CV-12218
634 Constitution St.

Canton, Michigan 48188

VS
Comcast Cable Communications Management LLC. l
Defendant 060 2 §
41112 Concept Dr. 0 , 420
Plymouth, Michigan 48170 "'3~ é/ES';WOF,__/C”
Cr
COUZ?_
Notice to Appeal
Motion to Appeal

Michigan FRCP rule (4)-(A)-(1)
Motion to leave to appeal

Comes now the plaintiff Ronnette Wilson prose and for the cause of this
action against the defendant Comcast Cable Communications Management
LLC and her undersign agent respectfully request to move this honorable
court to grant her notice of appeal and motion to appeal under the F R C P
(4)- (A)-(l) against the defendant with prejudice and bias the plaintiff will
show unto this honorable court the following to wit.

Showing in Good Faith And Causes

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II.

III.

IV.

VII.

VIII.

'Ihis motion is brought pursuant to the Michigan Federal Rules Of
Civil procedures (4)-(A)-(1)

This motion is brought pursuant to the Michigan Federal Rules of
Civil Procedures is involved under the 28 U. S. C. S (33)-(A)-(1)

This honorable court error when the plaintiff had acknowledge that
she had the wrong address and wrote a letter see exhibit (A) to the
judge this was prejudice and bias to the plaintiff by dismissing the
claim.

'I`his honorable court accept the plaintiff Ronnette Wilson under
the FRCP 28 U S C 1915 (A) in proceeding in Forma Pauperism

The plaintiff Ronnette Wilson prose alleged that she is seeking a
claim of relief south as she demand as of the deem

The plaintiff Ronnette Wilson prose stated that the defendant have
no legal rights whatsoever in this litigation

The plaintiff Ronnette Wilson alleged that this defendant did this
violation willing and intent under the title VII and XVI of the
America with Disability act of 1990

The plaintiff Ronnette Wilson prose stated that the defendant have
violated the Social Security Act of title II, VII, and XVI

Wherefore, the plaintiff Ronnette Wilson prays that this honorable court
will grant her Notice of Appeal motion to Appeal FRCP (4)-(A)-(1)
against the defendant with prejudice and bias

The Relief Sought Demand

The Relief requested

I.

The plaintiff Ronnette Wilson damages in the amount of $125.000,
punitive damages and $125.000 compensation plus 8% interest of
court cost which demand the defendant the total sum of $250.000

 

 

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II. Trail by bench on all issues tribal by bench

III. Plaintiff Ronnette Wilson cost of this civil action

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I Ronnette Wilson plaintiff prose do hereby certified that I have this day
mailed via United States mail postage paid a true and correct copy of the
above and foregoing notice to appeal and motion to appeal against the
defendant pleading to the defendant record as here in above set forth

This 2»© day of E»QCQ/m@/\) 2014
Subscri d and sworn t _efore me this l © day
of ge pp 4a lQ)~:B 2014

 

Respectfully Submitted M M/{////M

Ronnette Wilson
Plaintiff-Prose

634 Constitution St
Canton, MI 48188

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Notary Public

KATHLEEN M. ZARZYCKl-MA!N
NOTARV PUBL|C, STATE OF Ml

. 7 COUNTY OF WAYNE

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